                       Case 1:20-sw-00140-GMH Document 2 Filed 05/27/20 Page 1 of 12

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                                                                                         ----···-      --------·------\                                     I



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Columbia




                                                                              I
                In the Matter of the Search of
           (Briefly describe the property to be searched
            or idelltify the person by 11ame and address)
                                                                                            Case No. 20-sw-140
    FIVE U.S. POSTAL PARCELS LOCATED AT THE
       WASHINGTON GENERAL MAIL FACILITY,
         WASHINGTON, DC UNDER RULE 41
     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELE
                                                                  CTRONlC MEANS
         I, a federal law enforcement officer or an attorney for the government, request a search warrant
 penalty of perjury that I have reason to believe that on the following person or property (identify the       and state under
                                                                                                         person                        or describe the
 property to be searched a11d give its location):
  SEE ATTACHMENT A

 located in the      --------                       District of                   Columbia                   , there is now concealed       (identify the
                                                                  ______c:...c:.:.::c..:.:.:::...:....----
 person or describe tire property to be seized):
  CONTRABAND CONTROLLED DRUGS


           The basis for the search under Fed. R. Crim. P. 4 l(c) is                (check one or more):
                � evidence of a crime;
                  � contraband, fruits of crime, or other items illegally possessed;
                  O property designed for use, intended for use, or used in committing a crime;
                  O a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
              Code Section                                                                  Offense Description
        21 U.S.C. SECTION 841(a)(1)                 (Possession with Intent to Distribute a Controlled Substa�c�)
        21 U.S.C. SECTION 843(b)                    (Use of a Communication Facility to Facilitate the Comm1ss1on of a Federal Drug
                                                    Felony)
         The application is based on these facts:
        SEE ATIACHED AFFIDAVIT

           O Continued on the attached sheet.
           c::, Delayed notice of __ days (give exact ending date if more than 3
                18 U.S.C. § 3103a, the basis of which is set forth on t�a


                                                                                                             Ap

                                                                                                    Brian Harris,�Postal Inspector
                                                                                                             Pf"inted name and title

                                                                                   P. 4.1 by
Attested to by the applicant in accordance with the requirements of Fed. R._ Crim.
                           · telephone                                 (specify reliable electromc mea11s).
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                                                                                                                       -04'00'
Date:           May 27, 2020
                                                                                                                  Judge's signature

                            DC                                                                U.S. Magistrate Judge, G. Michael Harvey
City and state: Washington,
                                                                                                             Printed name and title
                           Case 1:20-sw-00140-GMH Document 2 Filed 05/27/20 Page 2 of 12
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               (Briefly describe the property to be searched

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(identify the person or describe the property to be searched and give its location)
  SEE ATTACHMENT A




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  CONTRABAND CONTROLLED DRUGS




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                           Case 1:20-sw-00140-GMH Document 2 Filed 05/27/20 Page 3 of 12
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          Case 1:20-sw-00140-GMH Document 2 Filed 05/27/20 Page 4 of 12



                                        Attachment A
                                         (20-sw-140)
                                    Property to be searched

Subject     Express (E) or Priority (P)   From:                  To:
Parcel      and Tracking ID number        Name and Address       Name and Address


1.          (P) 9505 5103 9845 0140       Azeem Ahamd            Eric Sanders
            2575 88                       4750 Royal Lane        6810 Eilerson St
                                          Dallas, Tx 75231       Clinton, MD 20735

2.          (P) 9505 5161 3377 0140       Ashley M. Gonzalez     Sherly Gonzalez Carreno
            4066 07                       HC 02 Box 5493         4401 Telfair Blvd
                                          Rincon, PR 00677       Apt 3235
                                                                 Camp Springs, MD 20746

3.          (P) 9505 5161 3377 0140       Ashley M. Gonzalez     Sherly M. Gonzalez
            4006 14                       HC 02 Box 5493         4401 Telfair Blvd
                                          Ricon, PR 00677        Apt 3235
                                                                 Camp Springs, MD 20746

4.          (P) 9505 5105 5028 0139       Mauricio Fernandez C   Todd Brooks
            2627 78                       177 URB River Garden   12100 Peabody Ln
                                          Canovanas, PR 00729-   Charlotte Hall, MD 20622
                                          3358

5.          (P) 9505 5106 8772 0139       Marivet Rivera         Tanya Mendez
            2458 43                       HC 5 Box 52604         9200 Traders Xing
                                          Aguadilla, PR 00603    Apt. D
                                                                 Laurel, MD 20723
          Case 1:20-sw-00140-GMH Document 2 Filed 05/27/20 Page 5 of 12



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 IN THE MATTER OF THE SEARCH OF:
 FIVE U.S. POSTAL PARCELS LOCATED
 AT THE WASHINGTON GENERAL MAIL                      20-SW-140
 FACILITY, WASHINGTON, DC
 UNDER RULE 41

                     AFFIDAVIT IN SUPPORT OF APPLICATION
                  FOR A SEARCH WARRANT FOR US MAIL PARCELS

       Your Affiant, Brian Harris, United States Postal Inspector, Washington DC, being

duly sworn, hereby deposes and states as follows:

I.     Subject Parcels.

       1.      This is an Affidavit submitted in support of an Application for a Search Warrant

for five (5) subject US Mail Parcel(s), hereinafter “Subject Parcel(s),” or “SP.” These Subject

Parcels are currently located at the Washington General Mail Facility, in Washington, DC, 20066.

Those Subject Parcels are specifically identified as follows:

Subject     Express (E) or Priority (P)     From:                     To:
Parcel      and Tracking ID number          Name and Address          Name and Address


1.          (P) 9505 5103 9845 0140         Azeem Ahamd               Eric Sanders
            2575 88                         4750 Royal Lane           6810 Eilerson St
                                            Dallas, Tx 75231          Clinton, MD 20735
2.          (P) 9505 5161 3377 0140         Ashley M. Gonzalez        Sherly Gonzalez Carreno
            4066 07                         HC 02 Box 5493            4401 Telfair Blvd
                                            Rincon, PR 00677          Apt 3235
                                                                      Camp Springs, MD 20746
3.          (P) 9505 5161 3377 0140         Ashley M. Gonzalez        Sherly M. Gonzalez
            4006 14                         HC 02 Box 5493            4401 Telfair Blvd
                                            Ricon, PR 00677           Apt 3235
                                                                      Camp Springs, MD 20746



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4.          (P) 9505 5105 5028 0139         Mauricio Fernandez C         Todd Brooks
            2627 78                         177 URB River Garden         12100 Peabody Ln
                                            Canovanas, PR 00729-         Charlotte Hall, MD 20622
                                            3358
5.          (P) 9505 5106 8772 0139         Marivet Rivera               Tanya Mendez
            2458 43                         HC 5 Box 52604               9200 Traders Xing
                                            Aguadilla, PR 00603          Apt. D
                                                                         Laurel, MD 20723



II.    Affiant’s Training and Experience

       2.      Your Affiant, Brian Harris, has been a United States Postal Inspector since October

2018, and is a graduate of the Federal Law Enforcement Training Center (“FLETC”) in Glynco,

Georgia. Your affiant has received training in conducting criminal investigations of violations of

the United States Code. I am presently assigned to the Washington, DC and Southern Maryland

Contraband Interdiction and Investigations (“CI2”) Team. Prior to my employment as a Postal

Inspector with the United States Postal Inspection Service (“USPIS”), I was employed with the

Office of Inspector General for the U.S. Department of Health and Human Services (“HHS-OIG”)

as a Special Agent for eight years, between 2010 and 2018. Prior to my employment with HHS-

OIG, I was employed with the Diplomatic Security Service of the U.S. Department of State as an

Intelligence Research Specialist. I have led, conducted, and/or participated in over thirty (30)

criminal investigations of violations of Federal laws involving fraud, theft, and narcotic(s). As a

result of your Affiant’s training, your Affiant is aware that Priority Mail Express and Priority Mail

services are regularly used by narcotic traffickers to ship controlled substances and bulk cash

through the US Mail.




                                                 2
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       3.       Based upon my training and experience in the field of narcotic interdiction through

the mails, I know that there are suspicious characteristics common to many packages that contain

narcotics, controlled substances or the proceeds thereof (i.e. US currency). These factors, more

fully detailed below, are used to identify packages requiring further investigation. In the case of

this search warrant, several of these factors were identified for the five (5) packages, and each

package was alerted to by the drug detection canine. The most common factors or suspicious

characteristics routinely observed in the course of screening packages are as follows:

             a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the US Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds. Drug

                                                  3
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packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your affiant’s experience, it is fairly

easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and

Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use Priority Mail

Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. Your affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a

search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents.    Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Nevada, Washington, Colorado, Puerto Rico and Florida

(among others, including countries such as China, Netherlands, and various African nations) can

also indicate that the parcel contains controlled substances.

                                                  4
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               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The US Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”

states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

       4.      It is your affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

                                                  5
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          5.    The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents of the government. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant, and does not set forth all of my knowledge about this

matter.

III.      Probable Cause

          6.    The following factors or suspicious characteristics are present in each of the Subject

Parcels:

 Subject       From            Weight:       Label:         Senders      Recipients Canine Alert?
 Parcel        Source                                       name         name
 Express       State:                                       associated   associated
 or                                                         with         with
 Priority                                                   address?     address?
                                                            Yes / No     Yes / No
 1.                             2 lbs 4.20
                 Yes – TX                    Handwritten        No           No          Yes (Mia)
 Priority                           ozs

 2.                              9 lbs 6.8
                 Yes – PR                    Handwritten       Invalid        Yes        Yes (Mia)
 Priority                           ozs
                                5 lbs 0.70
 3. Priority     Yes- PR                     Handwritten       Invalid         No        Yes (Mia)
                                    ozs
                                10 lbs 4.6
 4. Priority     Yes- PR                     Handwritten         Yes           No        Yes (Mia)
                                    ozs
                                5 lbs 0.70
 5. Priority     Yes- PR                     Handwritten         Yes           No        Yes (Mia)
                                    ozs

          7.    The suspicious characteristics listed above were identified while the Subject


                                                  6
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Parcels were in the mail stream, including the use of law enforcement and other databases to

make determinations about associations between senders/recipients and the addresses listed on

the parcels.    Therefore, on May 21, 2020, the Subject Parcels were removed from the mail

stream, and law enforcement used standard protocol for canine detection to determine whether

there was probable cause that the Subject Parcels contained narcotics. After being removed from

the mail stream, the Subject Parcels were individually placed in a secure area next to several

other empty and unused boxes at a US Postal Inspection Service Domicile Office on May 21,

2020. At that time, narcotic detection canines, Mia,1 was brought forward to scan the group of

boxes, which included the individual Subject Parcel and the empty and unused boxes placed

around the Subject Parcel. The handler: Sergeant Matthew Murphy (Maryland State Police),

observed the canine and then informed agents whether the dog alerted on the Subject Parcel.

Only one dog was utilized for the search of each Subject Parcel. This process was repeated for

each and every Subject Parcel listed above. As indicated in the chart, the relevant drug detection

dog alerted to the presence of narcotics in the Subject Parcel each and every time.



VI. Conclusion

        8.       Your affiant submits that based upon the above indicators reflected in the five (5)

parcels described herein, based upon my training and experience, and based upon the alert of the

trained canine on the package, I believe there is probable cause that the above-described Subject

Parcel(s) contains narcotics or controlled substances, and thereby constitute evidence of, and


 1
   “Mia” was most recently certified in October 2019 to alert on odors of marijuana (THC), cocaine, heroin, black
tar heroin, ecstasy (MDMA), hash, and methamphetamine and is trained to ensure their accuracy. Sergeant Mathew
Murphy, Maryland State Police is the handler for “Mia.”


                                                        7
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 contraband related to, the possession with intent to distribute controlled substances in violation of

21 U.S.C. Section 841 (a)( 1 ), and the use of a communication facility to facilitate the commission

of a federal drug felony in violation of21 U.S.C. Section 843(b).




                                                    Respectfully submitted,




                                                  L<l}s+k---
                                                    Brian Harris
                                                    U.S. Postal Inspector
                                                    U.S. Postal Inspection Service




Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on May 27, 2020,

                            2020.05.27
                            15:51:25 -04'00'
UNITED STATES MAGISTRATE JUDGE
G. MICHAEL HARVEY




                                                    8
